         Case 1:17-cv-00099-JKB Document 251 Filed 10/23/19 Page 1 of 3



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA,                    *

       Plaintiff,                            *

       v.                                    *              CIVIL NO. JKB-17-0099

BALTIMORE POLICE DEPARTMENT, *
et al.,
        Defendants.          *
                           o0o

                      MOTION TO APPROVE INVESTIGATION OF
                        GUN TRACE TASK FORCE SCANDAL

       The Baltimore Police Department (“BPD” or “Department”) hereby moves the Court to

approve its proposal for a comprehensive, independent, transparent investigation into the causes,

scope, and evolution of criminal behavior and other misconduct that managed to thrive in the

now-disbanded Gun Trace Task Force (GTTF). The unfolding of the GTTF story through the

voices of community members, press accounts, and sworn testimony has disclosed a cancer in

the BPD that is disturbing and wholly contrary to the Department’s values and commitment to

fair, impartial and ethical law enforcement. Ensuring effective accountability structures and a

Departmental culture of integrity is among Commissioner Michael Harrison’s highest priorities.

The Commissioner, in consultation with legal counsel, has concluded that, until an appropriate

review has been performed, these important objectives cannot be effectively served and neither

the BPD nor the Baltimore community can be comfortable that the full scope of the problem has

been identified, rooted out, eliminated, and its resurgence prevented. Accordingly, BPD has

engaged an experienced investigator and provided unfettered access for him to perform a review

that will provide these answers and to report them in a public report over which BPD will have
         Case 1:17-cv-00099-JKB Document 251 Filed 10/23/19 Page 2 of 3



no control. Only through a capable, comprehensive, and independent investigation, with

conclusions and recommendations reported publicly and without Departmental influence,

followed by transparency in BPD’s response, can the BPD move forward collaboratively with

the community it serves.

       BPD proposes Michael Bromwich as the lead investigator to conduct this review of the

GTTF scandal. Mr. Bromwich is a tenured attorney with over 40 years of experience as a

criminal defense lawyer, a compliance monitor of major public companies and public agencies, a

federal prosecutor, a special prosecutor, an inspector general at a prominent federal agency, and

regulator. He brings to this complex investigation an established track record of uncovering and

understanding institutional corruption and its causes, developed after decades of providing

independent monitoring and oversight services for two of the ten largest companies in the United

States. Additionally, Mr. Bromwich has served in multiple governmental roles, including as the

Inspector General of the Department of Justice, the principal oversight official responsible for

investigating public corruption and systemic issues relating to waste, fraud, and abuse within

DOJ and its constituent law enforcement agencies. Through this extensive career exercising

high-level oversight responsibilities, Mr. Bromwich has developed relationships with former law

enforcement and investigation professionals who will assist in the GTTF review along with

lawyers from Mr. Bromwich’s firm, Steptoe & Johnson, LLP.

       The role of the BPD and the City in this review will be intentionally very limited. See

Engagement Letter, attached as Exhibit A. The City will participate only by ensuring sufficient

financial support for Mr. Bromwich’s inquiry. The BPD will assist by issuing a directive from

the Commissioner for all BPD personnel to cooperate fully with any requests from Mr.

Bromwich’s team for documents, interviews, or information. See Email from Commissioner



                                                 2
         Case 1:17-cv-00099-JKB Document 251 Filed 10/23/19 Page 3 of 3



Harrison to All BPD Members, Oct. 23, 2019, attached as Exhibit B. Beyond ensuring access

and cooperation, BPD will receive, simultaneously with the Department of Justice and

Monitoring Team, a draft of the report for purposes of identifying any typographical or minor

factual errors. Any proposed corrections will be supplied to Mr. Bromwich and his team, who

will have sole discretion to make any modifications before publishing the report to the public.

This process will ensure the integrity and independence of the GTTF review and report.

       For the forgoing reasons, the BPD respectfully requests that the Court approve the

proposed independent GTTF review.



Dated: October 23, 2019                              Respectfully submitted,

                                                            /s/
                                                     __________________________________________________________________________________________________________________________________________________________________________________




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